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12 Robert Bolan
13
                      IN THE UNITED STATES DISTRICT COURT
14
                            FOR THE DISTRICT OF ARIZONA
15
16 Robert Bolan,                          Case No.: 2:17-cv-03321-DGC
17
                     Plaintiff,           Hon. David G. Campbell
18
19         vs.
                                          STIPULATION FOR
20 Experian Information                   DISMISSAL WITH
21 Solutions, Inc., et al.,               PREJUDICE AS TO
                                          DEFENDANTS TRANS
22                   Defendants.          UNION, LLC AND
23                                        EXPERIAN INFORMATION
                                          SOLUTIONS, INC.
24
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1          Plaintiff and Defendants Trans Union, LLC (hereinafter referred to as “Trans
2
     Union”) and Experian Information Solutions, Inc. (hereinafter referred to as
3
4 “Experian”), through counsel undersigned and pursuant to Rule 41(a)(1)(A)(ii),
5 hereby stipulate that the above-captioned action may be dismissed with prejudice
6
  against Defendants Trans Union and Experian, with each party to bear its own
7
8 attorneys’ fees and costs, in accordance with the form of dismissal order filed
9
     concurrently herewith.
10
11         DATED this 16th day of March, 2018

12                                                 KENT LAW OFFICES
13
14                                                 By: /s/ Trinette G. Kent
15                                                 Trinette G. Kent
                                                   Attorney for Plaintiff
16
17
                                                   COHEN DOWD QUIGLEY
18
19                                                  /s/ J. Neil Stuart w/ consent
                                                   J. Neil Stuart
20
                                                   Daniel P. Quigley
21                                                 Attorneys for Trans Union
22
23
24                                                 WILLIAMS WILLIAMS RATTNER
                                                   & PLUNKETT, P.C.
25
26                                                 /s/ Tamara E. Fraser w/ consent
                                                   Tamara E. Fraser
27                                                 Attorney for Experian
28
                                               2
